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 6   Attorneys for Defendant
     ZUMIEZ INC.
 7

 8                            UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                                   EASTERN DIVISION
11   DEVIN SANTIVANEZ, an individual,                CASE NO. 5:22-cv-00079
12               Plaintiff,                          DECLARATION OF NATHAN W. AUSTIN
                                                     IN SUPPORT OF DEFENDANT ZUMIEZ
13        vs.                                        INC.’S REMOVAL OF ACTION TO THE
                                                     UNITED STATES DISTRICT COURT FOR
14   ZUMIEZ INC. AND DOES 1 - 24,                    THE CENTRAL DISTRICT OF
     inclusive,                                      CALIFORNIA PURSUANT TO 28 U.S.C. §§
15                                                   1332 AND 1441 (DIVERSITY)
                 Defendants.
16                                                   (Filed concurrently with Notice
                                                     of Removal; Request for Judicial Notice;
17                                                   Certification and Notice of Interested
                                                     Parties; and Civil Cover Sheet)
18

19         I, Nathan W. Austin, hereby declare and state as follows:
20         1.     I am an attorney representing ZUMIEZ INC. (“Defendant”) in this
21   matter. The following is based on my personal knowledge and my knowledge based
22   on my review of and familiarity with Defendant’s files and the documents in the
23   above-captioned matter. If called as a witness, I could and would competently testify
24   to the facts contained herein. I submit this Declaration in support of Defendant’s
25   Notice of Removal.
26         2. On December 8, 2021, Plaintiff DEVIN SANTIVANEZ (“Plaintiff”) filed
27   a civil complaint against Defendant in the Superior Court of the State of California,
28   in and for the County of Riverside, entitled DEVIN SANTIVANEZ, an Individual v.
                                                 1
             DECLARATION OF NATHAN W. AUSTIN ISO DEFENDANT’S REMOVAL OF ACTION TO
       USDC, CENTRAL DISTRICT OF CALIFORNIA PURSUANT TO 28 U.S.C. §§ 1332 AND 1441 (DIVERSITY)
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 1   ZUMIEZ INC. AND DOES 1 – 24, inclusive, bearing Case No. CVRI2105558. True
 2   and correct copies of the Complaint and Summons are attached as Exhibits A and B,
 3   respectively.
 4            3. Plaintiff served Defendant with the Summons and Complaint on
 5   December 13, 2021 according to the records of Defendant’s agent for service, CT
 6   Corporation System.
 7            4. Attached as Exhibits C, D, E, F and G are true and correct copies of a
 8   Civil Cover Sheet, Certificate of Counsel, Notice of Case Management Conference,
 9   Notice of Department Assignment, and ADR Information packet, respectively, that
10   were also served on Defendant on December 13, 2021.
11            5. Attached as Exhibit H is a true and correct copy of the Proof of Service
12   of Summons and Complaint regarding ZUMIEZ INC., filed with the Court on
13   December 14, 2021, indicating service of the above documents on ZUMIEZ INC. on
14   December 13, 2021.
15            6. On January 11, 2022, Defendant filed an Answer to the Complaint in state
16   court, making a general denial as permitted by California Code of Civil Procedure
17   section 431.30(d) and asserting various affirmative defenses on behalf of ZUMIEZ
18   INC. A true and correct copy of the Answer is attached as Exhibit I.
19            7. As of the date of this Declaration, the attached Exhibits “A” through “I”
20   constitute all of the pleadings and papers received and/or filed by Defendant, and/or
21   currently on file, in this matter, and no further proceedings have occurred in the state
22   court.
23            8. On January 11, 2022, I downloaded the following documents from the
24   California      Secretary   of   State’s   Business   Search     website    located    at
25   https://businesssearch.sos.ca.gov/:
26                      Zumiez Acquisition Corp.’s publicly filed April 25, 2005
27                        registration with the California Secretary of State entitled State
28                        and Designation by Foreign Corporation and Certificate of
                                                 2
             DECLARATION OF NATHAN W. AUSTIN ISO DEFENDANT’S REMOVAL OF ACTION TO
       USDC, CENTRAL DISTRICT OF CALIFORNIA PURSUANT TO 28 U.S.C. §§ 1332 AND 1441 (DIVERSITY)
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  1                      Existence/Authorization attached to the concurrently filed
  2                      Request for Judicial Notice as Exhibit 1.
  3                    ZUMIEZ’s publicly filed July 27, 2005 Amended Statement by
  4                      Foreign Corporation with the California Secretary of State
  5                      attached to the concurrently filed Request for Judicial Notice as
  6                      Exhibit 2.
  7                    ZUMIEZ’s publicly filed April 10, 2014 Statement of
  8                      Information with the California Secretary of State attached to the
  9                      concurrently filed Request for Judicial Notice as Exhibit 3.
 10                    ZUMIEZ’S publicly filed March 10, 2021 Statement of
 11                      Information No Change filed with the California Secretary of
 12                      State attached to the concurrently filed Request for Judicial
 13                      Notice as Exhibit 4.
 14         I declare under penalty of perjury that the foregoing is true and correct.
 15         Executed this 12th day of January, 2022 at Sacramento, California.
 16
                                      /s/ Nathan W. Austin
 17
                                      NATHAN W. AUSTIN
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             DECLARATION OF NATHAN W. AUSTIN ISO DEFENDANT’S REMOVAL OF ACTION TO
       USDC, CENTRAL DISTRICT OF CALIFORNIA PURSUANT TO 28 U.S.C. §§ 1332 AND 1441 (DIVERSITY)
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  1                                 PROOF OF SERVICE
  2
            I am employed in the County of Sacramento, State of California. I am over
  3   the age of 18 and not a party to the within action; my business address is 400 Capitol
      Mall, Suite 1600, Sacramento, California 95814.
  4
            On January 12, 2022, I served the foregoing documents described as:
  5
      DECLARATION OF NATHAN W. AUSTIN IN SUPPORT OF DEFENDANT
  6     ZUMIEZ INC.'S REMOVAL OF ACTION TO THE UNITED STATES
       DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA
  7         PURSUANT TO 28 U.S.C. §§ 1332 AND 1441 (DIVERSITY)
  8   in this action by transmitting a true copy thereof addressed as follows:
  9    Robert Hampton Rogers, Esq.                    ATTORNEYS FOR PLAINTIFF
       CALLANAN ROGERS & DZIDA LLP                    DEVIN SANTIVANEZ
 10    800 South Figueroa Street, Suite 720
       Los Angeles, CA 90017-2538                     Telephone: 213.599.7595
 11    Email:      rrogers@crdattorneys.com           Fax:       213.599.7596
 12

 13   [X]   MAIL - by placing a true and correct copy thereof enclosed in a sealed
            eivelTpe with postage thereon fully prepaid for deposit in the United States
 14         Post Office mail box, at my business address shown above, following Jackson
            Lewis P.C.'s ordinary business practices for the collection and processing of
 15         mail, of which I am readily familiar, and addressed as set forth below. On the
            same day correspondence is placed for collection and mailing, it is deposited
 16         in the ordinary course of business with the United States Postal Service.
 17   [X]   STATE - I declare under penalty of perjury under the laws of the State of
            California that the above is true and correct.
 18
            Executed on January 12, 2022, at Sacramento, California.
 19

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 21
                                             LaDonna Mims
 22

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                                          PROOF OF SERVICE
